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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 SCOTT R. REED,

          Plaintiff,
                                                         Case No. 1:17-cv-136
 v.
                                                         HON. JANET T. NEFF
 NORTHEASTERN ASSET RECOVERY
 GROUP, INC., et al.,

       Defendants.
 _______________________________/


                                     ORDER OF DISMISSAL

         The Court having reviewed the Stipulation of Dismissal (ECF No. 31):

         IT IS HEREBY ORDERED that the Stipulation of Dismissal (ECF No. 31) is GRANTED;

this matter is DISMISSED with prejudice.




Dated: October 6, 2017                                      /s/ Janet T. Neff
                                                           JANET T. NEFF
                                                           United States District Judge
